      Case 3:17-cv-06932-MMC Document 134 Filed 11/06/18 Page 1 of 10



 1   Randall E. Kay (State Bar No. 149369)
     rekay@jonesday.com
 2   Douglas L. Clark (State Bar No. 279408)
     dlclark@jonesday.com
 3   JONES DAY
     4655 Executive Drive, Suite 1500
 4   San Diego, CA 92121.3134
     Telephone:    +1.858.314.1200
 5   Facsimile:    +1.844.345.3178

 6   Patrick T. Michael (State Bar No. 169745)
     pmichael@jonesday.com
 7   Marcus S. Quintanilla (State Bar No. 205994)
     mquintanilla@jonesday.com
 8   JONES DAY
     555 California Street, Suite 2600
 9   San Francisco, CA 94104.1501
     Telephone:     +1.415.626.3939
10   Facsimile:     +1.415.875.5700

11   Emily M. Whitcher (State Bar No. 321790)
     ewhitcher@jonesday.com
12   JONES DAY
     555 South Flower Street, Fiftieth Floor
13   Los Angeles, CA 90071
     Telephone:    +1.213.489.3939
14   Facsimile:    +1.213.243.2539

15   Attorneys for Plaintiff
     MICRON TECHNOLOGY, INC.
16

17                               UNITED STATES DISTRICT COURT

18                            NORTHERN DISTRICT OF CALIFORNIA

19

20    MICRON TECHNOLOGY, INC.,                      Case No. 3:17-CV-06932-MMC
21                      Plaintiff,                  PLAINTIFF MICRON’S REPLY IN
             v.                                     SUPPORT OF ITS MOTION TO SERVE
22
                                                    DEFENDANT FUJIAN JINHUA
23    UNITED MICROELECTRONICS                       INTEGRATED CIRCUIT CO., LTD. BY
      CORPORATION, FUJIAN JINHUA                    ALTERNATIVE MEANS
24    INTEGRATED CIRCUIT CO., LTD., and
      DOES 1-10,                                    Date: November 30, 2018
25                                                  Time: 9:00 a.m.
                        Defendants.
26                                                  Judge: Hon. Maxine M. Chesney
                                                    Courtroom: 7, 19th Floor
27

28

                                                                Micron’s Reply in Support of Its Motion
                                                                      for Alternative Service on Jinhua
                                                                       Case No. 3:17-CV-06932-MMC
      Case 3:17-cv-06932-MMC Document 134 Filed 11/06/18 Page 2 of 10



 1   I.     INTRODUCTION

 2          Micron has spent nearly a year attempting to serve Jinhua in accordance with Federal Rules

 3   of Civil Procedure 4(f)(1)—at Jinhua’s physical address in China under the Hague Convention—

 4   and 4(f)(2)—on Jinhua’s Taiwanese President in Taiwan by means permitted in that country,

 5   which is not a signatory to the Hague Convention. Micron continues to believe its service under

 6   Rule 4(f)(2) was proper. Nonetheless, alternative service under Rule 4(f)(3) is also warranted

 7   given Micron’s urgent need to obtain preliminary injunctive relief, the demonstrated difficulty in

 8   serving Jinhua under Rules 4(f)(1) and 4(f)(2), and to avoid two-track litigation against Jinhua and

 9   its co-defendant in this case, UMC. Alternative service by Micron’s proposed means—via email

10   and through Jinhua’s United States counsel—is not prohibited by international agreement and

11   comports with the notice requirements of due process. Jinhua provides no legitimate reason to

12   deny this motion and further delay this case, particularly given the recent actions taken against

13   Jinhua by the U.S. Department of Justice.

14   II.    ARGUMENT

15          A.      Micron Has Followed the Federal Rules of Civil Procedure.

16          Micron does not dispute Jinhua’s right to receive proper service under the Federal Rules of

17   Civil Procedure, nor suggest that actual notice establishes the effectiveness of service. It is

18   relevant, however, that Micron has made repeated good faith attempts to serve Jinhua under Rules

19   4(f)(1) and 4(f)(2) for nearly a year, and that Jinhua has had notice of this case from the start.

20          Current Jinhua counsel—South San Francisco’s Dan Johnson Law Group, LLP—initially

21   noticed an appearance for Jinhua at the outset of this case before quickly withdrawing that notice

22   and disclaiming representation of Jinhua (a position that counsel maintained until filing Jinhua’s

23   motion to dismiss last month). Given that Jinhua had not identified counsel from which Micron

24   could seek a waiver of service, Micron maintained its efforts to effectuate service on Jinhua under

25   Rule 4(f)(1) via the Hague Convention. After China’s Ministry of Justice (“Chinese MOJ”)

26   rejected that method of service for an unspecified translation defect, Micron learned that Jinhua’s

27   Taiwanese President, Stephen Chen, ran the company from Taiwan. Accordingly, Micron

28   attempted service under Rule 4(f)(2)(C)(ii) by having the Clerk of this Court mail the service

                                                         1              Micron’s Reply in Support of Its Motion
                                                                              for Alternative Service on Jinhua
                                                                               Case No. 3:17-CV-06932-MMC
      Case 3:17-cv-06932-MMC Document 134 Filed 11/06/18 Page 3 of 10



 1   documents via FedEx “international priority delivery” to “Stephen Chen, President of Fujian

 2   Jinhua Integrated Circuit Co., Ltd.” in Taiwan (Dkts. 89 at 2; 90 at 2), where the Hague

 3   Convention does not apply. 1 Although Stephen Chen has admitted that he in fact received the

 4   service documents addressed to him as the President of Jinhua (Dkt. 106 at 9), Jinhua contests the

 5   sufficiency of service in its motion to dismiss. Before Jinhua filed its motion, and in an attempt to

 6   move the case forward, Micron attempted to resolve any service issues through Jinhua’s counsel.

 7   Jinhua refused. 2

 8          Micron maintains that service was properly effected on Jinhua in accordance with Rule

 9   4(f)(2). (See Dkt. 116-4, Micron’s Opposition to Jinhua’s Motion to Dismiss, at 15.) However, in

10   the alternative, and to render unnecessary a ruling on the merits of Jinhua’s motion to dismiss on

11   service grounds, Micron now requests permission to serve Jinhua under Rule 4(f)(3). Each of

12   Micron’s service attempts, including this one, has been in good faith and in full compliance with

13   the Federal Rules of Civil Procedure. Jinhua’s attempt to blame Micron for any delay cannot be

14   squared with the facts. And regardless of blame, Jinhua provides no support for its repeated

15   assertion that alternative service may be denied simply because it was not sought earlier in the case

16   or immediately after an initial service attempt failed. Micron at all times followed Rule 4(f), and

17   brought this motion under Rule 4(f), to finally resolve the issue of service so that this case can

18   proceed against both defendants without further unnecessary delay.

19          B.      Alternative Service on Jinhua Is Necessary In This Case.

20          The standard for alternative service is not as onerous as Jinhua suggests. Micron does not

21   have to prove that service via the Hague Convention would be impossible for the Court to grant

22          1
               This was no attempt to “trick” Jinhua into accepting service. Micron successfully served
23   Jinhua’s co-defendant UMC (which is also represented by Jinhua’s counsel Dan Johnson Law
     Group, LLC) in Taiwan under Rule 4(f)(2)(C)(ii) by having the Clerk of this Court mail the
24   service documents to UMC via FedEx. UMC did not contest service, and Micron believes that
     service on Jinhua was accomplished in the same way consistent with United States law. And
25   Jinhua has never alleged that it was unaware of this case or deprived of a fair opportunity to
     respond.
26           2
               Jinhua’s accusation that Micron has “unnecessarily forc[ed] the parties to dispute the
     sufficiency of Micron’s attempted service” is disingenuous. Micron tried to work with Jinhua’s
27   counsel, who initially expressed a desire to “avoid unnecessary motion practice” and resolve the
     “service issues at play.” (Dkt. 117-3 at 5.) Jinhua could have accepted service through its U.S.
28   counsel to avoid this dispute.

                                                        2               Micron’s Reply in Support of Its Motion
                                                                              for Alternative Service on Jinhua
                                                                               Case No. 3:17-CV-06932-MMC
      Case 3:17-cv-06932-MMC Document 134 Filed 11/06/18 Page 4 of 10



 1   alternative service. To obtain relief under Rule 4(f)(3), the plaintiff need “only to demonstrate that

 2   the facts and circumstances of the present case necessitated the district court’s intervention.” Rio

 3   Props., Inc. v. Rio Int’l Interlink, 284 F.3d 1007, 1016 (9th Cir. 2002). Alternative service is

 4   warranted in this case because there is an urgent need for Micron to obtain preliminary injunctive

 5   relief once jurisdiction is established. As Jinhua has recognized, urgency is a reason for a court to

 6   grant a motion for alternative service. See, e.g., Microsoft Corp. v. Goldah.com Network Tech.

 7   Co., No. 17-CV-02896-LHK, 2017 WL 4536417, at *3–4 (N.D. Cal. Oct. 11, 2017) (granting

 8   motion because of urgent need for preliminary relief); Richmond Techs., Inc. v. Aumtech Bus.

 9   Solutions, No. 11-cv-02460-LHK, 2011 WL 2607158, at *11−12 (N.D. Cal. July 1, 2011) (same).

10          The urgency of this matter cannot be overstated. Indeed, the U.S. Government has

11   determined that “Jinhua is nearing completion of substantial production capacity” at its DRAM

12   factory in China and, on October 29, 2018, the U.S. Department of Commerce determined that

13   Jinhua “poses a significant risk of becoming involved in activities that could have a negative

14   impact on the national security interests of the United States.” 3 Then, on November 1, 2018, the

15   U.S. Department of Justice announced a criminal indictment against Jinhua, UMC, and three

16   former Micron employees hired away by UMC, as well as the filing of a civil injunction action—

17   all based on the theft and use of Micron trade secrets at issue in this action. 4 This lawsuit is of

18   critical importance to Micron, and Micron is entitled to seek immediate injunctive relief once the

19   Court resolves the pending jurisdictional issues. 5 Knowing this, Jinhua seeks to delay service and

20   a ruling on the jurisdictional issues—a delay that does nothing but risk the further use and

21   disclosure of Micron’s trade secrets.

22
            3
               U.S. Dept. of Commerce, “Addition of Fujian Jinhua Integrated Circuit Company, Ltd.
23   (Jinhua) to the Entity List” (Oct. 29, 2018), https://www.commerce.gov/news/press-
     releases/2018/10/addition-fujian-jinhua-integrated-circuit-company-ltd-jinhua-entity-list.
24           4
               U.S. Dept. of Justice, “PRC State-Owned Company, Taiwan Company, and Three
25   Individuals Charged With Economic Espionage” (Nov. 1, 2018),
     https://www.justice.gov/opa/pr/prc-state-owned-company-taiwan-company-and-three-individuals-
26   charged-economic-espionage.
             5
               Micron informed the Court in the Case Management Statement that it intended to file for
27   preliminary injunctive relief when the discovery stay is lifted. (Dkt. 52 at 6.) Because of the
     challenges to personal jurisdiction by UMC, and now Jinhua, Micron has been unable to seek
28   injunctive relief to date.

                                                         3               Micron’s Reply in Support of Its Motion
                                                                               for Alternative Service on Jinhua
                                                                                Case No. 3:17-CV-06932-MMC
      Case 3:17-cv-06932-MMC Document 134 Filed 11/06/18 Page 5 of 10



 1          As such, Jinhua’s reliance on three examples from the Advisory Committee Notes on

 2   when Rule(f)(3) applies—one of which is “cases of urgency”—gets Jinhua nowhere. Moreover,

 3   nothing suggests that the three examples provided in the Advisory Committee Notes were intended

 4   to be exclusive. Jinhua’s own authority recognizes that courts have permitted alternative service

 5   where “failure to permit alternative service will result in unduly long delays in litigation,” which is

 6   necessarily a situational inquiry, and “where attempted Hague Convention service has failed,” as

 7   here. Int’l Designs Corp., LLC v. Qingdao Seaforest Hair Prods. Co., No. 17-60431-CIV-

 8   MORENO, 2018 U.S. Dist. LEXIS 3038, at *8-9 (S.D. Fla. Jan. 4. 2018). Courts have also

 9   ordered alternative service for the avoidance of a “two-track litigation [with the] potential to create

10   inefficiencies and to prejudice plaintiff.” Prods. & Ventures Int’l v. Axus Stationary (Shanghai)

11   Ltd., No. 16-CV-00669-YGR, 2017 WL 1378532, at *3 (N.D. Cal. Apr. 11, 2017).

12          In any event, Micron also falls within two of the Advisory Committee examples. First, as

13   described above, this is a “case of urgency.” Second, Micron has every reason to believe service

14   will not be effected within the six-month period provided by the Hague Convention were it to retry

15   that method of service. It took the Chinese MOJ four months to reject Micron’s materials as

16   improperly translated, and presumably, it would take even longer to actually effect service if the

17   documents are ever accepted by the Chinese MOJ as complete. Should Micron attempt service

18   through the Hague Convention again, the time for service will clearly extend well beyond the six-

19   month period contemplated by the Advisory Committee. Indeed, the long delays accompanying

20   Hague Convention service in China are well documented, and that is before accounting for the fact

21   that Jinhua is a state-owned enterprise that the Chinese government has every incentive to protect. 6

22          6
               See Aaron Lukken, “How to Serve Process in China… important updates,” Hague Law
23   Blog (May 14, 2018), https://www.haguelawblog.com/2018/05/serve-process-chinaimportant-
     updates/ (“For starters, the Chinese bureaucracy is excruciatingly slow – historically, they’ve taken
24   six to nine months to return a proof of service. Lately, though, more than a year passes, and there
     are rumblings in the transnational litigation community that they’ve stopped executing U.S.
25   requests altogether.”); Jacob Schindler, “Suing a Chinese entity in the United States? Expect a two
     year wait to serve process,” IAM (May 18, 2018), https://www.iammedia. com/frandseps/suing-
26   chinese-entity-united-states-expect-two-year-wait-serve-process (“Until recently, service in China
     in accordance with the Hague Service Convention averaged 8 months to 1 year. Although the
27   situation with China remains frustrating and unbending, we recently received notification from the
     Ministry of Justice in Beijing that the standard turnaround time for service will now be between 1
28   and 2 years and proofs of service are starting to be returned for requests in various cases that were
     originally sent to China 2 years ago.”)
                                                        4               Micron’s Reply in Support of Its Motion
                                                                              for Alternative Service on Jinhua
                                                                               Case No. 3:17-CV-06932-MMC
      Case 3:17-cv-06932-MMC Document 134 Filed 11/06/18 Page 6 of 10



 1   Further, Jinhua has already received notice through Micron’s good-faith service attempts and there

 2   is no legitimate reason to delay this litigation for an indefinite period of time while Micron again

 3   attempts to serve Jinhua through the Hague Convention. See Prods. & Ventures Int’l, 2017 WL

 4   1378532, at *3. The two-track litigation Jinhua is advocating for would be prejudicial to Micron

 5   and would unduly burden the Court with separate schedules for substantially similar matters that

 6   should be tried together.

 7          Jinhua has not provided any compelling reasons for denying this motion. Jinhua rests on

 8   its fabricated “right” to service under the Hague Convention, and even suggests that the motion

 9   may be denied to punish Micron for allegedly delaying the filing of this motion and not following

10   the Federal Rules. But Micron is not asking the Court to validate its prior attempts at service by

11   granting its motion for alternative service under Rule 4(f)(3). And Jinhua cites to no authority to

12   support denying a motion for alternative service because of a plaintiff’s delay in bringing the

13   motion. In any event, as explained above, Micron has been diligently pursuing service in

14   accordance with the Federal Rules for almost a year. Micron has acted in good faith and with all

15   due speed. 7

16          C.      Jinhua Does Not Have a Right to Service Via the Hague Convention.

17          To be clear, Micron is not attempting to circumvent the Hague Convention. Compliance

18   with the Hague Convention is not mandatory under the Federal Rules, and Jinhua does not have a

19   right to be served via the Hague Convention. Microsoft, 2017 WL 4536417, at *4 (“[Chinese]

20   Defendants’ claim incorrectly assumes that the Hague Convention is the only means of effecting

21   service.”); Xilinx, Inc. v. Godo Kaisha IP Bridge 1, 246 F. Supp. 3d 1260, 1263 (N.D. Cal. 2017)

22   (“IPB’s position that it has a ‘right’ to force service through strict compliance with the Hague

23   Convention misapprehends governing law.”). Service in the United States is governed by the

24   Federal Rules of Civil Procedure, and China cannot require that service under United States law be

25   accomplished through the Hague Convention. See Marcantonio v. Primorsk Shipping Corp., 206

26   F. Supp. 2d 54, 58 (D. Mass. 2002) (“The country in which service is being made is the country

27          7
              Nor is a ruling on Jinhua’s motion to dismiss on service grounds necessary or warranted
     should the Court grant this motion for alternative service. Jinhua is essentially seeking an advisory
28   opinion in arguing otherwise. (See Dkt. 128 at 8 n.3.)

                                                        5              Micron’s Reply in Support of Its Motion
                                                                             for Alternative Service on Jinhua
                                                                              Case No. 3:17-CV-06932-MMC
      Case 3:17-cv-06932-MMC Document 134 Filed 11/06/18 Page 7 of 10



 1   whose laws must be obeyed, not the country of origin of the person or corporation being served.”).

 2          Micron initially attempted to serve Jinhua through the Hague Convention because it was

 3   trying to serve Jinhua at its physical address in China. The Hague Convention applies to service

 4   physically accomplished in China. It does not apply based on citizenship, but based on the country

 5   where service occurs. Murtech Energy Servs., LLC v. ComEnCo Sys., Inc., No. 2:13-CV-12721,

 6   2014 WL 2863745, at *7 (E.D. Mich. June 24, 2014) (“While Defendants hint that Hangzhou’s

 7   status as a Chinese corporation mandates sole use of the Chinese Central Authority, the Hague

 8   Convention applies based upon the country in which service occurs, not a corporation’s

 9   citizenship.”). Despite all required documents being professionally translated and certified before

10   being submitted for service (Dkt. 116-5 ¶¶ 2-3), the Chinese MOJ rejected the materials after four

11   months with a one-sentence statement that the translation was, inexplicably, not complete. Jinhua

12   argues that the Chinese MOJ provides a three to four month timeline for execution of Hague

13   Convention service requests. Clearly, service had not been accomplished within four months, and

14   could not have been because it took the Chinese MOJ four months merely to review the materials

15   for compliance. 8

16          Attempted service through the Hague Convention for a second time would unreasonably

17   delay this case. Courts do not require an attempt at Hague Convention service before alternative

18   service can be granted, and they certainly do not require multiple attempts when the first attempt

19   failed for unspecified “defects” in the translation. See Richmond Techs., 2011 WL 2607158, at

20   *11−12 (granting alternative service where plaintiff did not first attempt to complete service

21   through the Hague Convention). Jinhua has not pointed to a single case where the court required a

22   showing that service through the Hague Convention would be impossible before granting

23   alternative service. In fact, cases relied on by Jinhua are to the contrary. See, e.g., Codigo Music,

24   LLC v. Televisa S.A. de C.V., No. 15-CIV-21737, 2017 WL 4346968, at *7 (S.D. Fla. Sept. 29,

25   2017) (“[T]here is no express requirement that the Plaintiffs demonstrate that service under the

26
            8
              That the Chinese MOJ responded almost immediately to a request from Jinhua, a state-
27   owned enterprise, is not surprising and does not reasonably suggest that Micron would receive
     equal treatment. Micron has no obligation to further pursue a failed service attempt when the
28   Federal Rules provide for other, equally-favored methods of service.

                                                        6              Micron’s Reply in Support of Its Motion
                                                                             for Alternative Service on Jinhua
                                                                              Case No. 3:17-CV-06932-MMC
      Case 3:17-cv-06932-MMC Document 134 Filed 11/06/18 Page 8 of 10



 1   Hague Convention is not possible before the court may authorize the Plaintiffs to serve the

 2   Defendant under alternative means pursuant to Rule 4(f)(3).”)

 3           D.       Service By Electronic Means and Through Counsel Are Appropriate, and

 4                    Micron Will Comply With Any Means Ordered By the Court.

 5           The purpose of service of process is to ensure that a defendant has notice and an

 6   opportunity to respond. See Rio Props., Inc., 284 F.3d at 1016-17 (service must be “reasonably

 7   calculated, under all the circumstances, to apprise interested parties of the pendency of the action

 8   and afford them an opportunity to present their objections.”) (quoting Mullane v. Cent. Hanover

 9   Bank & Trust Co., 339 U.S. 306, 314 (1950)). That objective has been met. Micron is not arguing

10   that notice is sufficient by itself, but that alternative service is justified, in part, given the

11   undisputed fact that Jinhua has actual notice of this case.

12           Rule 4(f)(3) allows service “by other means not prohibited by international agreement, as

13   the court orders.” Both email service and service through United States counsel have been

14   sanctioned by the Ninth Circuit and courts in this district in cases where court intervention was

15   deemed necessary. 9 See, e.g., Keck v. Alibaba.com, Inc., No. 17-CV-05672-BLF, 2018 WL

16   3632160, at *3 (N.D. Cal. July 31, 2018) (“there is no international agreement precluding service

17   on China-based defendants by electronics means”); Carrico v. Samsung Elecs. Co, No. 15-cv-

18   02087-DMR, 2016 WL 2654392, at *4 (N.D. Cal. May 10, 2016) (noting that “[n]othing in the

19   Hague Convention bars Plaintiffs’ requested service on [the defendant] through her attorney.”). In

20   attempting to distinguish Micron’s cases, Jinhua confuses the issue of whether the means of

21   alternative service was adequate with whether alternative service was warranted at all. (See Dkt.

22   128 at 13-15.)

23           Micron is not arguing that, by itself, Jinhua’s special appearance through counsel to contest

24   service waives service or permits service on counsel. Rather, that the Court has authority under

25
             9
              Jinhua does not dispute that service@jhicc.cn is a valid email address that would be an
26   effective means of service. (Dkt. 128 at 14 n.6.) However, Jinhua claims that its physical address
     is “more preferred.” As part of the order granting alternative service, Micron would be happy to
27   arrange for the service materials to be delivered to Jinhua at its physical address in China, as well,
     so long as Jinhua is not contending that service at its physical address must be accomplished
28   through the Hague Convention, rather than a personal courier or other efficient means.

                                                           7                Micron’s Reply in Support of Its Motion
                                                                                  for Alternative Service on Jinhua
                                                                                   Case No. 3:17-CV-06932-MMC
      Case 3:17-cv-06932-MMC Document 134 Filed 11/06/18 Page 9 of 10



 1   Rule 4(f)(3) to order service on a defendant’s counsel notwithstanding the client’s refusal to

 2   authorize its counsel to accept service. See Cheetah Mobile, Inc. v. APUS Grp., No. 15-CV-

 3   02363-HSG, 2016 WL 4036098, at *3 (N.D. Cal. July 28, 2016) (“Defendant’s attempt to

 4   distinguish the facts of this case from other cases in which courts have permitted service on an

 5   international defendant’s U.S. counsel is unavailing. Under clear Ninth Circuit precedent, the only

 6   requirements for Rule 4(f)(3) service are that it is (1) directed by the Court and (2) not prohibited

 7   by international agreement such as the Hague Convention.”). Jinhua’s cited cases are not on point

 8   and do not address whether service on counsel under Rule 4(f)(3) is permissible. See Fourte Int'l

 9   Ltd. BVI v. Pin Shine Indus. Co., No. 18-cv-00297-BAS-BGS, 2018 U.S. Dist. LEXIS 62367, at

10   *4 (S.D. Cal. Apr. 11, 2018) (refusing to deem defendant served because of appearance of counsel,

11   and not ruling on whether service on counsel was appropriate means of alternative service);

12   Kruska v. Perverted Justice Found., No. CV-08-0054-PHX-SMM, 2009 U.S. Dist. LEXIS

13   112892, at *5-6 (D. Ariz. Nov. 16, 2009) (finding that previous service attempt on counsel was

14   ineffective, and not in the context of a Rule 4(f)(3) motion); Lasswell Found. for Learning &

15   Laughter, Inc. v. Schwartz, No. 3:16-cv-00497-BEN-WVG, 2016 U.S. Dist. LEXIS 154373, at

16   *4-5 (S.D. Cal. Nov. 4, 2016) (same).

17          Jinhua does not cite a single case holding that email service or service on a foreign

18   defendant’s United States counsel is prohibited by international agreement. 10 Here, service via

19   these methods is appropriate because Jinhua already has notice of this case and the methods are

20   not prohibited by international agreement. As demonstrated above, alternative service is necessary

21   because of the urgency of this case and the undue delay that would be caused by repeated (and

22   uncertain) attempts at Hague Convention service. Should the Court find Micron’s proposed means

23   of service insufficient, Micron will comply with any means provided for by the Court.

24
            10
               Jinhua cites two cases that it claims shed doubt on the permissibility of email service.
25   Neither case held that email service was prohibited, and both cases allowed service on the
     defendant’s United States counsel. See Cheetah Mobile, 2016 WL 4036098, at *3 (granting
26   motion for alternative service on defendant’s United States counsel and declining to rule on
     permissibility of email service); Juicero, Inc. v. iTaste Co., No. 17-cv-01921-BLF, 2017 U.S. Dist.
27   LEXIS 86033, at *8 (N.D. Cal. June 5, 2017) (finding email service “permissible means in this
     case when combined with [service on defendant’s United States counsel and through defendant’s
28   Facebook].”)

                                                        8               Micron’s Reply in Support of Its Motion
                                                                              for Alternative Service on Jinhua
                                                                               Case No. 3:17-CV-06932-MMC
     Case 3:17-cv-06932-MMC Document 134 Filed 11/06/18 Page 10 of 10



 1   III.   CONCLUSION

 2          For the reasons stated above and in Micron’s moving papers, the Court should grant

 3   Micron’s motion for alternative service.

 4

 5                                                   Respectfully submitted,

 6    Dated: November 6, 2018                        JONES DAY

 7

 8                                                   By: s/ Randall E. Kay
                                                         Randall E. Kay
 9

10                                                   Attorneys for Plaintiff
                                                     MICRON TECHNOLOGY, INC.
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                    9              Micron’s Reply in Support of Its Motion
                                                                         for Alternative Service on Jinhua
                                                                          Case No. 3:17-CV-06932-MMC
